                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           SOUTHERN DIVISION

                                  No. 7:23-CV-00897.

INRE:
CAMP LEJEUNE WATER LITIGATION
                                                       FED. R. CIV. P. 53(B)(3)(A)
This document applies to all:                               AFFIDAVIT OF
                                                      CHRISTOPHER G. OPRISON
ALL CASES

I, Christopher G. Oprison, hereby swear under penalty of perjury the following:

   1. I am an attorney in good standing, duly licensed to practice law in the District of

      Columbia, Florida, Texas, and Virginia.

   2. I am a partner in the law firm DLA Piper LLP (US).

   3. I hereby consent to appointment as Settlement Master in the above-captioned

      litigation.

   4. I have thoroughly familiarized myself with the issues involved in this case. As a

      result of my knowledge of the case, I attest and affinn that I know of no non-

      disclosed grounds for disqualification under 28. U.S.C. § 455 that would prevent

      me from serving as the Settlement Master in this matter pursuant to Appointment

      Order (Case ManagementOrderNo. 14), dated July 9, 2024 (ECF No. 251).

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed this 12th day of July, 2024.




     Case 7:23-cv-00897-RJ Document 256 Filed 07/15/24 Page 1 of 1
